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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )        CRIMINAL ACTION NO.
                                             )
                Plaintiff,                   )        1:21-CR-117(TFH)
                                            )
v.                                           )
                                             )
Alex Kirk Harkrider,                         )
                                            )
Defendant.                                  )



            DEFENDANT HARKRIDER’S MOTION TO TRANSFER VENUE AND
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT

       COMES NOW, Defendant, Alex Harkrider, (hereinafter “Harkrider”) by

undersigned counsel, and respectfully moves the Court, pursuant to Federal Rule of

Criminal Procedure 21, for a transfer of venue so that he may be tried by an impartial jury

as guaranteed by the Fifth and Sixth Amendments to the United States Constitution.

       I.       PROCEDURAL HISTORY

       This case arises out of the events at the United States Capitol on January 6,

2021(hereinafter “J6”). Defendant Harkrider was indicted on November 10, 2021 with an

eleven count superseding indictment charging him and his co-defendant, Ryan Nichols,

with violations of 18 U.S.C. Sections 231(a)(3), 2 (Civil Disorder), 18 U.S.C. Sections

1512(c)2 and 2 (Obstruction of an Official Proceeding), 18 U.S.C. Sections 111(a)(1) and

(b) (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon), 18

U.S.C. Section 641 (Theft of Government Property), 18 U.S.C. Section 1752(a)(1) and

(b)(1)(A) (Entering and Remaining in a Restricted Building or Grounds with a Deadly or

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Dangerous Weapon), 18 U.S.C. Section 1752(a)(2) and (b)(1)(A) (Disorderly and

Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous

Weapon), 40 U.S.C. Section 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building), 40

U.S.C. Section 5104(e)(2)(F) (Act of Physical Violence in the Capitol Grounds or

Building) and 40 U.S.C. Section 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in

a Capitol Building). See ECF No. 59.

       II.      LEGAL ARGUMENT


                A. Federal Rule of Criminal Procedure 21(a)

        The Fifth and Sixth Amendment of the United States Constitution entitle criminal

defendants to a fair trial by an impartial jury. See In re Murchison, 349 U.S. 133, 136

(1955). “The theory in our system of law is that conclusions to be reached in a case will

be induced only by evidence and argument in open court, and not by any outside

influence[.]”Patterson v. Colorado, 205 U.S. 454, 462 (1907). Justice Hugo Black

observed that the American justice system “has always endeavored to prevent even the

probability of unfairness.” Id. Accordingly, Federal Rule of Criminal Procedure 21(a)

instructs that district courts “must transfer the proceeding if the court is satisfied that so

great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there.”

        In some cases, a potential jury pool can be determined to be irredeemably biased

when the alleged crime results in “effects on [a] community [that] are so profound and

pervasive that no detailed discussion of the [pretrial publicity and juror partiality] evidence

is necessary.” United States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla. 1996)

(summarily finding that a trial of Oklahoma City bombing suspects in federal court in

                                                    2
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Oklahoma City (Western District of Oklahoma) would be constitutionally unfair)(see also

Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even these indicia of impartiality [during voir

dire] might be disregarded in a case where the general atmosphere in the community or

courtroom is sufficiently inflammatory.”). “[W]here there is a reasonable likelihood that

prejudicial news prior to trial will prevent a fair trial, the judge should continue the case

until the threat abates, or transfer it to another county not so permeated with publicity.”

Sheppard v. Maxwell, 384 U.S. 333, 362-363, 86 S. Ct. 1507, 1522, 16 L. Ed. 2d 600, 620,

(1966).

           When the threatened harm is prejudice to a fair trial, a number of alternatives less

 restrictive of expression may be available, which include:

       (a)change of trial venue to a place less exposed to intense publicity; (b)
       postponement of the trial to allow public attention to subside; (c) searching
       questioning of prospective jurors to screen out those with fixed opinions as to guilt
       or innocence; (d) the use of emphatic and clear instructions on the sworn duty of
       each juror to decide the issues only on evidence presented in open court(;) (e)
       sequestration of jurors (to) enhance the likelihood of dissipating the impact of
       pretrial publicity and emphasize the elements of the jurors' oaths.

In re Halkin, 598 F.2d 176, 195, (D.C. Cir. 1979) (citing Nebraska Press Ass'n, 427 U.S.
at 563-64; see also Sheppard, 384 U.S. at 333). In Irving v. Dowd, the Supreme Court
stated:

          In the ultimate analysis, only the jury can strip a man of his liberty or his life. In
          the language of Lord Coke, a juror must be as "indifferent as he stands unsworne."
          Co. Litt. 155b. His verdict must be based upon the evidence developed at the trial.
          Cf. Thompson v. City of Louisville, 362 U.S. 199. This is true, regardless of the
          heinousness of the crime charged, the apparent guilt of the offender or the station
          in life which he occupies.
           Irvin v. Dowd, 366 U.S. 717, 722 (1961); but see Patton v. Yount, 467 U.S. 1025,

 10311032 (1984) (distinguishing Irvin v. Dowd’s holding on the grounds that the second

 jury trial took place four years later after pretrial publicity had long subsided.)

           The Court further recognized that the presumption of prejudice overrides juror

 declarations of impartiality during voir dire because such attestations may be insufficient

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 to protect a defendant’s rights in particularly charged cases. Where pervasive pretrial

 publicity has “inflamed passions in the host community” and “permeat[es] the trial

 setting [such] that a defendant cannot possibly receive an impartial trial,” the district

 court must presume local prejudice and transfer the proceeding. United States v.

 QuilesOlivo, 684 F.3d 177, 182 (1st Cir. 2012); Cf. Mu’Min v. Virginia, 500 U.S. 415,

 429-430 (1991) (citing Patton, supra, at 1035) (“Under the constitutional standard, on the

 other hand, ‘the relevant question is not whether the community remembered the case,

 but whether the jurors had such fixed opinions that they could not judge impartially the

 guilt of the defendant.’").

       When examining a Rule 21 motion to transfer venue, a court should consider (1)

the size and characteristics of the community; (2) the nature and extent of pretrial

publicity; (3) the proximity between the publicity and the trial; and (4) presumed

prejudice. Skilling v. U.S., 561 U.S. 358, 378-81 (2010). In Rideau v. Louisiana, 373 U.S.

723, 83 S. Ct. 1417, 10 L. Ed. 2d 663 (1963), the Supreme Court held that a murder

defendant’s due process rights were violated where pretrial publicity included an interview

broadcast three times locally. Id. The Court in Skilling distinguished the facts before it

from the “[i]mportant differences separate Skilling's prosecution from those in which we

have presumed juror prejudice.” Skilling v. United States, 561 U.S. 358,

381-382, 130 S. Ct. 2896, 2915, 177 L. Ed. 2d 619, 643, (2010).

       A review of the Skilling factors makes apparent that the Court should transfer the

Defendant’s case from the District of Columbia. Both the Fifth and Sixth Amendments

secure the right to trial by an impartial jury. Const. amends. V, VI; see also Skilling v. United

States, 561 U.S. 358, 378 (2010).The importance of an impartial jury is so fundamental to

Due Process that, notwithstanding constitutional venue prescriptions, when prejudice
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makes it such that a defendant cannot obtain a fair and impartial trial in the indicting

district, the district court must transfer the proceedings upon the defendant’s motion. Fed.

R. Crim. P. 21(a); see also Skilling, 561 U.S. at 378. In some instances, the hostility of

the venue community is so severe that it gives rise to a presumption of juror prejudice.

See Patton v. Yount, 467 U.S. 1025, 1031 (1984) (distinguishing between presumed venire

bias and actual juror bias).


       Where it attaches, the Court has further recognized that the presumption of

prejudice overrides juror declarations of impartiality during voir dire because such

attestations may be insufficient to protect a defendant’s rights in particularly charged cases.

Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even these indicia of impartiality might be

disregarded in a case where the general atmosphere in the community or courtroom is

sufficiently inflammatory.”); see also Irvin v. Dowd, 366 U.S. 717, 728 (1961) (“No doubt

each juror was sincere when he said that he would be fair and impartial to petitioner, but

psychological impact requiring such a declaration before one’s fellows is often its

father.”). Indeed, on appeal of a denial of a motion for change




1Though not relevant to the instant motion, the Court identified a fourth factor for consideration upon
appellate review, following trial in the contested venue: (4)whether the jury convicted the defendant on all
counts or only on a subset of counts.The lack of uniformity in result after denial of a motion to transfer
venue, the Courtobserved, indicates that the jury was impartial and capable of rendering a verdict on only
the facts presented, rather than preconceived notions of guilty.




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    of venue, an appellate court need not even examine the voir dire record if it finds that

    the presumption attached. Rideau v. Louisiana, 373 U.S. 723, 726-27 (1963) (“But we do not

    hesitate to hold, without pausing to examine a particularized transcript of the voir dire

    examination of the members of the jury, that due process of law in this case required a

    [transfer].”). Thus, under this precedent, voir dire is simply not a cure for significant and

    substantiated Due Process concerns about the jury pool.

            Mr. Harkrider respectfully submits that these concerns are pressing in this case.

Additionally, facts show that the District of Columbia jury pool is already tainted and with each

passing day and the media coverage of the January 6th House Select Committee hearings, there

is no hope that Mr. Harkrider can obtain a fair and impartial jury in the District of Columbia.




                          B. Size and Characteristics of the Community


           The first Skilling factor to consider is the size of the population eligible for jury duty.

Skilling, 561 U.S. at 382 (comparing Houston’s 4.5 million potential jury pool with a smaller

Louisiana parish with 150,000 residents). The District of Columbia has less than 700,000 in

total population1, but because of its more transient population, the potential jury pool is likely

much smaller than a comparable federal district.2, 3                 Several January 6th Defendants, not


1
    This total is not broken down to those eligible for jury duty.
2
  See 2020 Census Data Shows DC’s Population Growth Nearly Tripled Compared to Previous
Decade, DC.gov (Apr. 26, 2021) (DC population recorded by census as 689,545)
https://dc.gov/release/2020-census-data-shows-dcs-population-growth-
nearlyhttps://dc.gov/release/2020-census-data-shows-dcs-population-growth-nearly-tripled-
compared-previous-decadetripledcompared-previous-decade
3
  See US Census, Quick Facts - District of Columbia, https://www.census.gov/quickfacts/DC (last
visited March 28, 2022)
                                                             6
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Harkrider, commissioned a Multi-District Survey. See Exhibit A “Multi-District Study”. This

extensive survey was conducted in four regions: the District of Columbia, the Middle District of

Florida (Ocala Division), the Eastern District of North Carolina, and the Eastern District of

Virginia. (Id. at p.1, f.n. 2). While the non-D.C. test areas registered reliably similar results to

each other, the survey found that D.C. respondents were an outlier and had a “decidedly

negative” attitude towards J6 defendants. (Id. at 2).    Shockingly, “91% of DC Community

respondents who answered all of the prejudgment test questions admit making at least one

prejudicial prejudgment on issues related to the case, while other [areas] admit doing so at

rates from 49% to 63%.” Id. A whopping 30% of D.C. residents admitted to making every

prejudicial prejudgment, double the rate of the next highest area. Id.




                                                  7
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A significant finding in the survey was the elevated concern by D.C. residents vis-a-vis

their safety concerns in light of J6. Respondents were asked: Have you experienced

increased concern about your own safety or the safety of people important to you due to

the events of January 6th? The difference between the D.C. and the other areas is

astounding:




The survey included four questions as to the personal impact J6 had on the respondents;

the responses confirming personal impact on D.C. residents was almost double that of

those surveyed in the Eastern District of Virginia. See Ex. A at 4.

        As the Court undoubtedly recalls, the National Guard was deployed in D.C.

 for more than four months after the J6. Mayor Bowser declared a state of emergency

 and implemented a 6 p.m. curfew for weeks subsequent to J6. The District

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    implemented significant road and public space closures in direct response to J6.4 The

    Department of Homeland Security declared that government offices were potential

    targets of violent domestic extremists who were allegedly emboldened by the “mob

    assault” on the Capitol.5 Additionally, nearly 15,000 individuals work for Congress

    directly, and many more D.C. residents have friends and family who work on the Hill.

    Finally, many D.C. residents have friends and family employed by law enforcement

    groups who took part in responding to J6. The majority of potential jurors in the

    District of Columbia were personally impacted in some way by the events on Capitol

    Hill on J6. See Ex. A at 4. This factor weighs heavily in favor of transferring the

    instant cases to the Eastern District of Virginia or some other District. D.C. is a city

    that, as a whole, feels that it has been the victim of a crime because of the events of

    J6. J6 was a substantially more impactful event than Enron’s collapse, which

    personally affected a few hundred families in city of 4.5 million residents, who could

    easily be stricken from the jury pool.




                          C. Nature and Extent of Pretrial Publicity

          The next Skilling factor pertained to the adverse publicity against the former

Enron executive. Skilling, 561 U.S. at 382 (“Second, although news stories about


4
  DC Inauguration Updates: 4 Bridges Between DC, Virginia Closing; National Mall Closed; NBC4 Washington,
https://www.nbcwashington.com/news/local/dc-inauguration-updates-fridayclosuresthreatsnational-mall/2542719/
(last visited March 28, 2022).
5
  DHS Warns of Heightened Threats from Violent Domestic Extremists, NPR,
https://www.npr.org/2021/01/28/961470061/dhs-warns-of-heightened-threats-from-violent domestic- extremists
(last visited March 28, 2022).

                                                     9
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Skilling were not kind, they contained no confession or other blatantly prejudicial

information of the type readers or viewers could not reasonably be expected to shut

from sight.). The nature and extent of pretrial publicity related to the events of J6 weigh

heavily in favor of transferring venue. District residents have been exposed to

thousands of comments from local and national leaders regarding J6, related arrests,

criminal charges, Congressional hearings and, prosecutorial outcomes. Unlike the

Enron prosecution, J6 is an ongoing event, with prosecutors still continuing to charge

defendants. The negative publicity loop never stops, whereas in Skilling, four years

went by before the trial took place, with little negative publicity.

            Negative press coverage is guaranteed to continue perhaps forever.

The January 6 Select Committee has released a number of public statements about alleged

“insurrectionists,” “white supremacists,” and “domestic terrorists.”6 Speaker Pelosi went so far

as to declare that Donald Trump was an accessory to murder.7 See Section 3 below for additional

citations. Respectfully, Harkrider does not agree that J6 was an “act of domestic terror,” “a

white supremacist attack,” or an “insurrection” on his part. In fact, unlike D.C. residents, most

Americans, as the three attached surveys show, believe that J6 was a very large protest that got

out of hand and turned into a riot by a select few that were there. One of the Capitol policeman,




6
  See Press Release, Nancy Pelosi, Speaker, House of Representatives, Pelosi Statement on Republican
Recommendations to Serve on the Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol (July
21, 2021), https://perma.cc/B86B-SJTA (Pelosi Press Release)(emphasis added).
7
  Nancy Pelosi on the Capitol Hill insurrection: Trump was an accessory to the crime of murder,
MSNBC.com (2021), https://www.msnbc.com/msnbc/watch/nancy-pelosi-on-
thecapitolhttp://www.msnbc.com/msnbc/watch/nancy-pelosi-on-thecapitol-hill-insurrection-
hillinsurrection- trump-was-an-accessory-to-the-crime-of-murder-99705925960 (last visited March 28,
2022).

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Aquilino Gonell, wrote a guest essay in the New York Times on July 11, 2022, describing how

President Trump and his followers beat him on January 6 as he defended “our democracy.” He

was then highlighted in the J6 hearing July 12, 2022 by Jamie Raskin. This type of inflammatory

press will only continue to have unknown adverse effects on defendants like Mr. Harkrider.

https://www.nytimes.com/2022/07/10/opinion/capitol-police-jan-6.html.

        The Multi-District Study asked respondents four questions related to news

 coverage in the tested areas. The survey revealed that D.C. is an outlier when it

 comes to saturation coverage. Only 4.83% percent of DC respondents said “never or

 almost never” in regard to following news coverage, compared to 13.40% said in the

 Eastern District of Virginia. (Ex. A, fig. 6). D.C. residents have been inundated with

 one-sided coverage of the events surrounding J6, are surrounded by residents who

 feel personally impacted by J6, and clearly have been jaundiced towards the

 Defendants. The survey demonstrates that far fewer potential jurors outside the

 beltway are taking a personal interest in J6 as compared to their D.C. counterparts

 many of whom, according to the study, are closely following J6 coverage.

                      D.       Proximity of Publicity to Trial

       The Skilling Court distinguished Rideau, where a trial was conducted in close

proximity to prejudicial news coverage, with Skilling’s trial, where “over four years

elapsed between Enron's bankruptcy and Skilling's trial.” Skilling, 561 U.S. at 383.

Again, this factor weighs heavily in favor of relocating the trial from D.C. The ongoing

negative publicity generated by the House Select Committee Hearings creates presumed

prejudice for defendant Harkrider and it is ongoing. The committee has not announced


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when it will end its fact finding mission. In fact, Harkrider respectfully submits that

requiring him to go to trial in the District in the dark shadow of the Select Committee’s

investigation, would be highly prejudicial. The Court of Appeals for the First Circuit,

for example, addressed the prejudicial effect of contemporaneous congressional

hearings in Delaney v. United States, 199 F.2d 107 (1st Cir. 1952). In Delaney, the trial

judge refused to grant a lengthy defense continuance request, which was based upon

ongoing congressional hearings into the "scandal" involving the defendant. Id. at 114.

The Delaney Court ruled that the trial judge abused his discretion in not granting the

continuance, noting that the actions of Congress in generating adverse publicity were

equivalent to prosecutors doing the same:

        [I]n being brought to trial in the hostile atmosphere engendered by all this
        pre-trial publicity, would obviously be as great, whether such publicity
        were generated by the prosecuting officials or by a congressional
        committee hearing. In either case he would be put under a heavy handicap
        in establishing his innocence at the impending trial. Hence, so far as our
        present problem is concerned, we perceive no difference between
        prejudicial publicity instigated by the United States through its executive
        arm and prejudicial publicity instigated by the United States through its
        legislative arm.
Id. at 114.

       The Court of Appeals for the District of Columbia dealt with a similar issue

during Watergate. Former Nixon official Robert Ehrlichman sought a continuance of

his trial date based upon the Senate Watergate hearings, which was denied by the trial

judge. Upholding the trial court’s ruling, the Court of Appeals distinguished Delaney on

the grounds that Ehrlichman was not indicted at the time of the Senate hearings, because

it was a full year in the rear-view mirror:



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       Similarly, a continuance in the circumstances at bar is not required by
       Delaney v. United States, 199 F.2d 107 (1st Cir. 1952), where legislative
       hearings were held concerning the criminal activity to be tried. In this case,
       unlike Delaney, the Senate Watergate hearings occurred almost a year before
       the trial commenced and the defendants were not under indictment at the
       time of the hearings.


United States v. Ehrlichman, 546 F.2d 910, 916, n. 8 (D.C. Cir. 1976).

       The non-stop negative publicity requires the Court to either grant a lengthy

continuance or transfer of venue to a federal district that is not satiated by the Select

Committee’s work. The instant case is far worse than Delaney and Ehrlichman. On top

of the Select Committee hearings, J6 is reported on every day in local news channels

and in newspapers online and in print. The one-year anniversary of the event, as well as

recent sentencings of high-profile J6 defendants, have kept the matter in the forefront of

local discourse and no doubt the 2nd anniversary will be much the same. And on and on

each year. Indeed, with former President Trump suggesting he may run again for

President, the impact of these hearings, and the political fallout, cannot be

underestimated. There are daily stories about the congressional investigation into the

events of J6, revealing new details, with a political spin and a decidedly one-sided taint.

Multiple Trump Administration officials have refused to testify before the Select

Committee for various reasons, creating an aura of suspicion in the minds of potential

D.C. jurors that they may be hiding incriminating information.

       Most recently, Ms. Cassidy Hutchinson testified before the select committee and

ratings were through the roof. https://www.huffpost.com/entry/cassidy-hutchinson-

television-ratings-gold-jan-6-donald-trump_n_62c9efc5e4b0aa392d3f95e6



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D.C. came to a screeching halt as everyone tuned in to her testimony before the J6

committee. The fallout of this hearing has caused even more witnesses to be

subpoenaed. From June 28, 2022 to July 9, 2022, The Washington Post ran at least 31

pieces, both news and opinion, on Ms. Hutchinson’s testimony and its aftermath. The

headlines continued to sensationalize the story calling her testimony a “smoking gun”

and “explosive” and hyping her as the aide who shattered the White House’s “code of

silence.” https://www.washingtonpost.com/opinions/2022/06/28/cassidy-hutchinson-

breaks-trump-white-house-code-of-silence/. The sensationalized and hyped prime-time

and day time hearings have only added to the publicity and prejudice the J6 defendant’s

like have continued to experience. According to news sources, Ms. Hutchison’s

testimony reached the largest live audience of the daytime J6 hearings.

https://news.yahoo.com/cassidy-hutchinson-testimony-set-audience-

225925410.html?fr=sycsrp_catchall The Committee’s billing of it as a “surprise

hearing” shrouded in secrecy, no doubt played a huge role in those ratings.

https://theweek.com/jan-6-committee/1014742/cassidy-hutchinsons-bombshell-

testimony. This was despite the fact that Ms. Hutchinson sat for four videotaped

interviews with the select committee previously, including one earlier in the month of

June. https://www.politico.com/news/2022/06/29/jan-6-hutchinson-secret-service-

00043164

       On January 7, 2021 Rep. Bennie Thompson (D-MS), now the Chairman of the

Select Committee to Investigate the J6, stated in an official statement, that

       [w]hat occurred yesterday at our nation’s Capitol was – pure and simple
       – domestic terrorism incited by President Trump, his enablers, and those
       seeking to overturn the results of a legitimate election. January 6, 2021
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         will go down in history as the date that an angry mob of domestic
         terrorists and insurrectionists illegally tried to prevent our elected
         representatives from fulfilling their constitutional duty in the orderly
         transfer of power. It was a sad day for our democracy[.]8

On July 21, 2021 Speaker Pelosi released her statement on Republican

recommendations to serve on the House Select Committee to Investigate the January 6th

Attack on the United States Capitol.9 In the Speaker’s statement, without any due

process beforehand, she pronounced definitively that “January 6th [was an]

“Insurrection” and authorized the Select Committee to "investigate and report upon the

facts and causes of the terrorist mob attack.” The Select Committee has also provided

information it obtained through its contemporaneous investigation on an individual

named Ray Epps, before the Department of Justice made any specific production to any

defendants.10 On April 8, 2022 it was reported that:

         The House Select Committee Investigating the violent breach of the U.S.
         Capitol building on January 6, 2021, has reportedly uncovered evidence
        that shows that there was coordination between two white supremacist
        militias during that event — and that those militias may have also




8
  The Hon. Bennie Thompson’s Official Statement:
https://homeland.house.gov/news/pressreleases/chairman-thompson-statement-on-domestic-
terroristhttps://homeland.house.gov/news/press-releases/chairman-thompson-statement-on-domestic-terrorist-
attack-on-capitolattack-on-capitol

9
 See Press Release, Nancy Pelosi, Speaker, House of Representatives, Pelosi Statement on Republican
Recommendations to Serve on the Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol (July
21, 2021), https://perma.cc/B86B-SJTA (Pelosi Press Release)(emphasis added).

10
   After senators brought Epps up in a hearing, a Jan. 6 committee spokesperson released a statement last
week, saying Epps “informed us that he was not employed by, working with, or acting at the direction of
any law enforcement agency on January 5th or 6th or at any other time and that he has never been an
informant for the FBI or any other law enforcement agency.” Select committee member Rep. Adam
Kinzinger, an Illinois Republican, said that Epps “didn’t enter the Capitol on Jan. 6 and was removed
from the most wanted list because, apparently, he broke no laws.”
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        coordinated with organizers of the “Stop the Steal” rally that proceeded
        the attack on Congress.11

        And the New York Times has reported that “[t]he House committee investigating

the Jan. 6 attack on the Capitol said on Wednesday that there was enough evidence to

conclude that former President Donald J. Trump and some of his allies might have

conspired to commit fraud and obstruction by misleading Americans about the outcome

of the 2020 election and attempting to overturn the result.” 12 The Select Committee’s

one-sided perspective on the events of J6 has caused significant prejudice for the

Defendant and these statements, released before a full investigation has been concluded

demonstrate the political nature of the investigation rather than a true attempt to seek

truth for the American people.

        Likewise, multiple statements made by Attorney General Merrick Garland have

tainted the District of Columbia’s jury pool. General Garland, for instance, has

repeatedly compared J6 to the Oklahoma City bombing case, alleging at his

confirmation hearing that “there was a line that connected the January insurrection to the

Oklahoma City bombing and back to the battles of the original Justice Department

against the Ku Klux Klan.”13 In a June speech to DOJ officials, the Attorney General


11
   Report: Jan. 6 Committee Finds Connections Between Militias & Rally Organizers By Chris Walker,
TruthOUT.com April 8, 2022 https://truthout.org/articles/report-jan-6-
committeehttps://truthout.org/articles/report-jan-6-committee-finds-connections-between-militias-rally-
organizers/findsconnections-between-militias-rally-organizers/ (emphasis added).
12
   Jan. 6 Committee Lays Out Potential Criminal Charges Against Trump By Luke Broadwater and Alan Feuer,
New York Times, March 2, 2022,
https://www.nytimes.com/2022/03/02/us/politics/trump-criminal-charges-jan-6.html

13
   Zoe Tillman, Merrick Garland pledged to investigate the Capitol insurrection, Buzzfeed (Jun. 15, 2021),
https://www.buzzfeednews.com/article/zoetillman/merrick-garlandinvestigate-capitol-
riotshttps://www.buzzfeednews.com/article/zoetillman/merrick-garland-investigate-capitol-riots-attorney-
                                                       16
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“compared the 1995 Oklahoma City bombing to the Capitol riot of January 6 when

unveiling the Justice Department’s response to the Biden Administration’s new anti-

domestic terrorism strategy.”14 The Attorney General’s repeated comparisons of the

Oklahoma City bombing to J6 is particularly relevant to this motion as the Attorney

General, a senior DOJ official at the time, supervised the prosecution of Timothy

McVeigh and his co-conspirators. 15 During his prosecutorial leadership, Garland

agreed with defense attorneys that the Eastern District of Oklahoma could not provide

the Oklahoma City defendants a fair trial, and consented to a transfer of venue. United

States v. McVeigh, 918 F. Supp. 1467, 1470 (W.D. Okla 1996) (“There is no

disagreement among the parties with Judge Alley's concern about a trial in Oklahoma

City. The effects of the explosion on that community are so profound and pervasive that

no detailed discussion of the evidence is necessary.”).16 A priori, if the events of J6 are

comparable to the Oklahoma City case in the opinion of the Attorney General, who in




generalattorney-general. See also (AG Garland speech on combatting domestic terrorism) (Jun. 15, 2021),
https://www.youtube.com/watch?v=6-_loIzn5Bo (Jun. 15, 2021).
14
   Jerry Dunleavy, Merrick Garland ties Oklahoma City bombing to Capitol Riot, Wash. Examiner (Jun.
15, 2021), https://www.washingtonexaminer.com/news/garland-oklahomacity-bombing-capitol-riot.
15
   Wash. Post (Feb. 21, 2021) (video of testimony of AG confirmation hearing),
https://www.washingtonpost.com/video/politics/garland-we-are-facing-a-more-
dangerousperiodhttps://www.washingtonpost.com/video/politics/garland-we-are-facing-a-more-dangerous-period-
than-we-faced-in-oklahoma-city-at-that-time/2021/02/22/ceebcd88-5d4c-4c01-b07e-
6b937d75b3d8_video.htmlthan-we-faced-in-oklahoma-city-at-that-time/2021/02/22/ceebcd88-5d4c-4c01b07e-
6b937d75b3d8_video.html. See also Dana Milbank, Merrick Garland lets domestic terrorists know there’s a
new sheriff in town, Wash. Post (Feb. 22, 2021) (“Garland . . . prosecuted the Oklahoma City bombing
perpetrators before becoming a federal judge[.]”).
16
   The Government’s suggestion that McVeigh prosecutors agreed to transfer the case from Oklahoma City
because the “federal courthouse was itself damaged during the bombing” is not accurate. The McVeigh
court clearly indicated that the Government agreed that McVeigh’s ability to receive a fair trial in
Oklahoma City was “chancy.” McVeigh, 918 F. Supp. at 1470.
                                                    17
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1995 agreed to a transfer of venue in the latter case, logically a comparable transfer of

venue in the instant case would comport with consistent treatment of defendants.


                           E. Presumed Prejudice

       In Skilling, the Supreme Court explained presumed prejudice, and explained why

it was lacking in that case.

        Finally, and of prime significance, Skilling's jury acquitted him of nine
        insider trading counts. Similarly, earlier instituted Enron-related
        prosecutions yielded no overwhelming victory for the Government. It
        would be odd for an appellate court to presume prejudice in a case in
        which jurors' actions run counter to that presumption.
 Skilling, 561 U.S. at 383.

       Unlike the defendants in Skilling, to date, all of the J6 trials before juries have

resulted in unanimous jury verdicts promptly returned against the defendant: The first

trial summary, according to the N.Y. Post: “[T]he first jury trial for a Capitol protestor

from January 6, 2021 led to Guy Reffitt, a 49-year-old member of the “Texas Three

Percenters” militia group, was found guilty on all five of the felony charges he faced,

including bringing a gun onto the Capitol grounds and obstructing an official

proceeding. A federal jury in Washington, DC, handed down the unanimous verdict

against Reffitt after just two hours of deliberation.” See “Guy Reffitt found guilty in

first Capitol riot trial, By Emily Crane and Jorge Fitz-Gibbon, New York Post, March 8,

2022,” https://nypost.com/2022/03/08/guy-reffitt-found-guilty-in-first-capitolriot-trial.

       On April 14, 2022, “[a]fter less than three hours of deliberations, a Washington,

D.C., jury found Dustin Thompson guilty of multiple charges stemming from his

participation in the January 6, 2021, Capitol assault, including obstructing Congress'

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certification of the Electoral College votes and stealing liquor and a coat rack from the

Capitol building. He likely faces a maximum sentence of 20 years in prison.” See Ohio

man who argued he was "directed" by Trump to join the Jan. 6 Capitol riot convicted on

all counts, CBSNews, By Robert Legare, April 14, 2022 Ohio man who argued he was

"directed" by Trump to join the Jan. 6 Capitol riot convicted on all counts - CBS News.

       Every other case that’s gone to trial has resulted in a guilty verdict. See U.S. v. Cusanelli.

21 CR 37(TNM); U.S. v. Robertson, 21 CR 34 (CRC); U.S. v. Griffin, 21 CR 92(TNM); and

U.S. v. Williams, 21 CR 377 (BAH). Steven Bannon goes on trial today. Same sensationalism.


   a. The Multi-District Study

   The Multi-District Study found that while the tested areas differ from each other in

geographic location, demographic composition and political party alignment, the non-

D.C. areas produced reliably similar results to each other on most questions in the

survey, with the D.C. standing apart. See Ex. A at 2.. Notably, the Eastern District of

Virginia is consistently more in line with North Carolina and Florida than the District:

              “Q3. 72% of DC Community respondents said that they are likely to
       find Defendants guilty – even when given the choice, “It is too early to
       decide.” The median in the Study was 48%.
               •      Q5. 85% of the DC Community characterizes the Events of
       January 6th as acts that are criminal in nature (insurrection, attack or riot),
       even when given options to reserve judgment on that question. The median
       in the Study was 54%.
               •     Q6. 71% of the DC Community believes that all who entered
       the U.S. Capitol without authorization planned in advance to do so, even
       when offered options to reserve judgment on that question. The median in
       the Study was 49%.
               •      Q9. Over 40% of the DC Community stated they believe all
       the Events of January 6th were racially motivated, even when offered
                                                19
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       options to reserve judgment on that question. (Emphasis added) The
       median in the Study was 20%.

       Also noteworthy are the results on preconceived beliefs that the J6 defendants

preplanned to go into the Capitol:




(Edh. A, fig. 1). Well over the majority, 71% of D.C. residents believe that J6 was

preplanned, whereas discovery has produced no evidence that the Defendant planned the

Capitol breach or even planned to march to the Capitol that day. This result is

significant on the issue of intent, which is an essential element of a number of the

charges. The Defendant would face a jury in the District of Columbia that

overwhelming doubts his major defense, i.e., that there was no preplanning of J6.

       The Multi-District survey also confirms substantial bias in D.C.’s potential jury
       pool:




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 (Exh. A, fig. 2). Again, this survey shows the significant percentage with which the District of

 Columbia surpasses the three other jurisdictions by well beyond the margin of error:

         This bias is not only more prevalent in the DC Community, but it is also
        more intense. The DC Community also admits making more than one
        prejudicial prejudgment at a much higher rate than respondents from the
        other Test Areas. In fact, 30% of DC Community respondents admit that
        they have already made every prejudicial prejudgment tested for in the
        survey – double the rate of the next highest Test Area.

(Ex. A at p. 2).


   b. Analysis by the Federal Public Defenders’ Office:

       Significant majorities of potential jurors in DC have prejudged the January 6
       defendants.

The D.C. Federal Defender’s Office (the “PD Survey”) commissioned a survey of

potential jurors. The PD Survey shows that a significant percentage of D.C.’s potential

jurors harbor negative attitudes of J6 defendants and have already concluded that they

are guilty. (Case No. 1:21-cr00024-EGS, ECF 101-1, Select Litigation Report


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commissioned for the PD, D.C., with appendices), and hereby incorporated for these

Defendants. Attached hereto as Exhibit B.

       The PD Survey polled 400 potential D.C. jurors, and 400 potential jurors in the

Atlanta Division of the Northern District of Georgia, similar in a few factors to the

District of Columbia. The firm also retained the services of a media research firm,

News Exposure, to analyze aspects of news coverage concerning January 6. See Ex. B.

The PD Survey found that most District of Columbia residents prejudged the defendants

as generally “guilty” and prejudged the element essential to intent. Id. at ¶¶14, 10, 15,

18). Significant majorities in the District would characterize J6 protestors as

“criminals” (62%) and have already formed the opinion that these individuals are people

are “guilty” of the charges brought against them (71%). Id. at ¶¶ 14, 10.

Typically, one would expect most respondents to reserve judgement on guilt or

innocence. Yet over half of the District’s survey respondents were willing to admit that

they are more likely to vote “guilty” if they find themselves on a jury in a J6 case

(52%). Id. at ¶ 1. And potential D.C. jurors (85%) believe that J6 protestors were

“insurrectionists” (72%) and entered the Capitol to try “to overturn the election and

keep Donald Trump in power.” Id. at ¶ 15, 18. Those surveyed have prejudged these

key elements of the Defendant’s central defenses. In the PD Survey, in reviewing the

same questions asked of 400 prospective jurors in the Atlanta Division of the Northern

District of Georgia, significantly fewer potential jurors have the bias against January

6th defendants when compared to the District of Columbia. Id. at ¶ 19-23.

   c. Analysis by Zogby Polling Co.


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       One J6 Defendant, Garcia, filed a Motion to Transfer Venue and attached a Survey for

   the District of Columbia by Zogby, Inc., a well-regarded polling company. Case 1:21-

   cr00129-ABJ, ECF 54-1 Filed 02/01/22, attached hereto as Exhibit C. This survey polled

   400 D.C. residents in January of 2022. The Zogby poll and Garcia filing is hereby

   incorporated into this filing. The Zogby poll found that:


               --88% of registered D.C. voters believe that if Garcia went inside the
       Capitol building on January 6, 2021, he should be convicted of obstruction of
       justice and civil disorder;
         --73% of respondents believed that anyone who merely entered the
       Capitol building on J6 is guilty of insurrection;
               --A majority (64%) of respondents believe that anyone who entered the
       Capitol building on J6 is responsible for other protestors’ violence and
       destruction of property;
               --70% of respondents believe that anyone who went inside the Capitol
       building on January 6 was trying to stop the certification of the electoral vote
       for president.

       The findings on the Multi-District Study show results that are in line with both

the PD and Zogby surveys showing evidence of prejudgment bias as to overall guilt and

on the element of intent, even when compared with the closest neighboring jurisdiction,

the Eastern District of Virginia.

       In Skilling, Justice Sotomayor, J. wrote,


       I respectfully dissent, however, from the Court's conclusion that Jeffrey
       Skilling received a fair trial before an impartial jury. Under our relevant
       precedents, the more intense the public's antipathy toward a defendant, the
       more careful a court must be to prevent that sentiment from tainting the jury.
       In this case, passions ran extremely high. The sudden collapse of Enron
       directly affected thousands of people in the Houston area and shocked the
       entire community. The accompanying barrage of local media coverage was
       massive in volume and often caustic in tone. As Enron's onetime chief
       executive officer (CEO, Skilling was at the center of the storm. Even if these
       extraordinary circumstances did not constitutionally compel a change of
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       venue, they required the District Court to conduct a thorough voir dire in
       which prospective jurors' attitudes about the case were closely scrutinized.
       The District Court's inquiry lacked the necessary thoroughness and left
       serious doubts about whether the jury empaneled to decide Skilling's case was
       capable of rendering an impartial decision based solely on the evidence
       presented in the courtroom. Accordingly, I would grant Skilling relief on his
       fair-trial claim.

       Skilling, 561 U.S. at 427. (Justice Sotomayor, J. concurring in part and
   dissenting in part).

       d. Alternate Venues


   Venue transfer is proper under Rule 21(b) for convenience. Federal Rule of Criminal

Procedure 21(b), which allows for venue transfer “for convenience,” provides that,

“[u]pon the defendant’s motion, the court may transfer the proceeding, or one or more

counts, against the defendant to another district for the convenience of the parties, any

victim, and the witnesses, and in the interest of justice.” When enacted, “the draftsmen

of Rule 21(b) sought a provision that would ensure some degree of equality between

prosecution and defense in choice of forum.” Assessment on Transfer Motion of Jury

Bias in Transferee District Held Abuse of Discretion Remediable by Mandamus, 63

COLUM. L.REV. 1324,

       Harkrider cannot obtain a trial by an impartial jury in the District of Columbia

because seating an impartial jury is impossible under the current tainted environment

given the unique qualities of the DC jury pool. Defendant Harkrider submits that the

Eastern District of Virginia or some other District, specifically the Northern or Eastern

Districts of Texas, would be appropriate alternative venues. The Eastern District of

Virginia in Alexandria is just over 8 miles away from the federal courthouse in D.C.

Although a short distance from the District of Columbia, the Eastern District of Virginia

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offers potential jurors shown by sound studies to be significantly less biased. This

change of venue would result in very little inconvenience for the Court and the parties

and would actually be a more convenient (and safer) location for many other

participants in the trial. Moreover, the Court would avoid the very distinct risk of

having to potentially try the instant cases twice, as multiple surveys provide documented

proof that substantial prejudice exists in D.C.’s jury pool, and case law suggests that a

highly publicized congressional inquiry generating negative headlines against the J6

participants during their trial could be grounds for a mistrial or a new trial on appeal.

This Court even stated in the last status conference that it would consider postponing the

trial based solely on the J6 committee hearings.

       Alternatively, The Eastern or Northern Districts of Texas offer a venue choice

that would bring some sense of equality between the prosecution and the defense in

choice of forum. Defendant Harkrider lives in Longview, Texas a city in the Eastern

District of Texas and the AUSA in charge of this case is located in the Northern District

of Texas. Additionally, the paralegal helping Mr. Harkrider in his case has moved to

Texas and resides in the Eastern District of Texas and could provide housing for

undersigned counsel during trial at no cost. Defendant recognizes that many of the

witnesses for this case will reside in or near the District of Columbia, but with modern

technology, many could testify remotely if the trial were held elsewhere. Additionally,

almost all of Mr. Harkrider’s (and the co-defendant’s) witnesses and his family support

system reside in Texas and a trial in Texas would be much for convenient for these

witnesses and his family. See United States v. Radley, 558 F. Supp. 2d 865, 877 (N.D.


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Ill. 2008) (finding transfer appropriate in part because it would be more convenient for

defendants and their families); United States v. Aronoff, 463 F. Supp. 454 (S.D.N.Y.

1978) (granting transfer in part because denying it would deny the defendant support

from his family and friends); cf. United States v. Stanko, 528 F.3d 581, 586 (8th Cir.

2008) (noting that, when weighing the convenience to the defendant of a Rule 18 intra-

district transfer, the Court should also consider the ability of family, friends, and other

supporters to attend the trial, and holding that defendant was prejudiced by “trial

approximately 200 miles further than the nearest location permitted for such a trial”).

Thus, this factor favors trial in the Northern or Eastern District of Texas.

       Under similar circumstances, district courts have heavily weighed the expense

imposed upon indigent defendants in favor of a transfer, noting that transfer is

appropriate where the defendant cannot afford to travel to a different district and remain

there during there during trial. United States v. Hanley, No. 94 CRIM. 394 (DAB), 1995

WL 60019, at *3 (S.D.N.Y. Feb. 10, 1995); see also United States v. Radley, 558 F.

Supp. 2d at 882 (while recognizing the expense to the government of transporting

witnesses to an alternative forum, “[o]n the whole, the Court finds this factor supports

transfer because defendants do not have the same resources to support an extended trial

in Chicago”); United States v. Ferguson, 432 F. Supp. 2d 559, 567 (E.D. Va. 2006)

(rejecting government argument that transfer would be expensive, and finding that

expense to defendants’ weighed in favor of transfer to their home district, because “the

United States of America has, for all practical purposes, unlimited financial resources to




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bring to bear. Unlike the [defendants], the Government can, and does, mint money.”).

Therefore, this factor strongly supports a transfer to a venue closer to Defendant’s home.

       While pretrial publicity of the Capitol riot exists in other areas of the country, the

personal impact J6 had on District residents and their families requires a transfer. The

District of Columbia is further shown to have over 66% as personally impacted by a

“fear of personal safety.” The District of Columbia’s jury pool is saturated with

prejudice. Moreover, the notion that more than 4 out of 10 jurors would assume that J6

was “racially motivated” is disturbing and incorrect. The J6 Defendants should not have

to prove that they are not racists, but this evidence clearly shows that’s what they would

have to do. And the work of the Select Committee is a daily dose of additional media

coverage that cannot be unseen by the potential jurors in the District of Columbia.


       III.     CONCLUSION

       Based on the foregoing, Defendant Harkrider has demonstrated that he faces

significant, irreversible prejudice in the District of Columbia and will be unable to have

a fair and impartial jury as guaranteed by the Fifth and Sixth Amendments to the United

States Constitution. Accordingly, Mr. Harkrider requests that this Court transfer the

venue to the Eastern District of Virginia or some other District, preferably the Northern

or Eastern District of Texas, pursuant to Fed. R.Crim.Pl. 21(a).



                                      KIRA ANNE WEST

                                      By:            __________ /s/
                                              Kira Anne West
                                              DC Bar No. 993523
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                           CERTIFICATE OF SERVICE

      I hereby certify on the 18th day of July, 2022, a copy of same was delivered to

the parties of record, by ECF pursuant to the Covid standing order and the rules of the

Clerk of Court.

                                 _______/s/________

                                   Kira Anne West




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